    Case 1:19-cr-20252-RS Document 1 Entered on FLSD Docket 05/01/2019 Page 1 of 4
                                                                                                FILED by   YH       D.C.



                                                                                                  Apr 30, 2019
                                                                                                  ANGELA E. NOBLE
                                 UNITED STATES DISTRICT COURT                                     CLERK U.S. DIST. CT.
                                 SOUTHERN DISTRICT OF FLORIDA                                     S. D. OF FLA - MIAMI


                                 CASE NO.       19-20252-CR-BLOOM/LOUIS
                                               21 u.s.c. § 963
                                               21 u.s.c. § 853

     UNITED STATES OF AMERICA

    vs.

    GREGORY GEORGE,
     a/k/a " Ti Ketant,"

1                Defendant.


                                               INDICTMENT

           The Grand Jury charges that:

           From at least as early as in and around July 2013, the exact date being unknown to the

    Grand Jury, and continuing through on or about June 7, 2015, in the countries of Colombia, Haiti,

    and elsewhere, the defendant,

                                          GREGORY GEORG E,
                                            a/k/a " Ti Ketant,"

    did knowingly and willfully combine, conspire, confederate, and agree with persons known and

    unknown to the Grand Jury, to distribute a controlled substance in Schedule II, knowing and

    intending that such controlled substance would be unlawfully imported into the United States, in

    violation of Title 21, United States Code, Section 959(a)( l ) and (a)(2); all in violation of Title 21,

    United States Code, Section 963.

           Pursuant to Title 2 l, United States Code, Section 960(b)(1 )(A), it is further alleged that

    this violation involved one ( 1) kilogram or more of a rn ixture and substance containing a detectable
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                                                                                                                           t
    amount of heroin.
    Case 1:19-cr-20252-RS Document 1 Entered on FLSD Docket 05/01/2019 Page 2 of 4




            Pursuant to Title 21 , United States Code, Section 960(b)( l )(B), it is further alleged that this
l


t    violation involved five (5) kilograms or more of a mixture and substance containing a detectable




I
     amount of cocaine.

                                     FORFEITURE ALLEGATIONS


i            l.     The allegations contained in this Indictment arc re-alleged and incorporated by




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     reference as though fully set forth herein for the purpose of alleging forfeiture to the United States

     of America of certain property in which the defendant, GREGORY GEORGE, a/k/a "Ti

    Ketant," has an interest.

            2.      Upon conviction of the violation alleged in this Indictment, the defendant shall

    forfeit to the United States of America any property constituting, or derived fro m, any proceeds

    obtained, directly or indirectly, as the result of such violation, and any property used, or intended

    to be used, in any manner or part, to commit, or to facilitate the commission of, such violation.

            All pursuant to Title 2 1, United States Code, Section 853.



                                                            A TRUE BILL


                                                             FOREPERSON




    KURT. . LUNKENHEIMER
    ASSISTANT UNITED STATES ATTORNEY                                                                             f

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 Case 1:19-cr-20252-RS Document 1 Entered on FLSD Docket 05/01/2019 Page 3 of 4
                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA


UNITED STATES OF AMERICA                               CASE NO.

vs.
GREGORY GEORGE,                                        CERTIFICATE OF TRIAL ATTORNEY*

                         Defendant.
                                                       Superseding Case Information:


Court Division: (select One)                           New Defendant(s)                      Yes        No   __
                                                       Number of New Defendants
_x_     Miami __             Key West                  Total number of counts
        FTL                  WPB _         FTP
        I do hereby certify that:
        1.       I have carefully considered the allegations of the indictment, the number of defendants, the number of
                 probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this
                 Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act,
                 Title 28 U.S.C. Section 3161.
        3.       Interpreter:    (Yes or No)             Yes
                 List language and/or dialecf                    Creole

        4.       This case will take     ....2:i....   days for the parties to try.
        5.       Please check appropriate category and type of offense listed below:
                 (Check only one)                                         (Check only one)

        I        0 to 5 days                               x                          Petty
        II       6 to 10 days                                                         Minor
        Ill      11 to 20 days                                                        Misdem.
        IV       21to60 days                                                          Felony       x
        v        61 days and over
        6.      Has this case been previously filed in this District Court? (Yes or No)            No
        If yes:
        Judge:                                             Case No.
        (Attach copy of dispositive order)
        Has a complaint been filed in this matter?         (Yes or No)      -1::!!L..
        If yes:
        Magistrate Case No.
        Related Miscellaneous numbers:
        Defendant(s) in federal custody as of
        Defendant(s) in state custody as of
        Rule 20 from the                                   District of
        Is this a potential death penalty case? (Yes or No)                  No


        7.       Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office prior
                 to October 14, 2003? _ _ Yes              __x__ No




                                                               KU T K. LU KENHEIMER
                                                               ASSISTANT UNITED STATES ATTORNEY
                                                               Florida Bar No./Court No. A5501535

*Penalty Sheet(s) attached                                                                                     REV 5/3/17
Case 1:19-cr-20252-RS Document 1 Entered on FLSD Docket 05/01/2019 Page 4 of 4




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                       PENALTY SHEET

 Defendant's Name: GREGORY GEORGE



 Count#: 1

 Conspiracy to Distribute cocaine, knowing it would be imported into the United States

 Title 21 United States Code Section 963

 *Max. Penalty:       Life Imprisonment




 *Refers only to possible term of incarceration, does not include possible fines, restitution,
 special assessments, parole terms, or forfeitures that may be applicable.
